
711 S.E.2d 435 (2011)
LANVALE PROPERTIES, et al.
v.
COUNTY OF CABARRUS, et al.
No. 438PA10-1.
Supreme Court of North Carolina.
July 18, 2011.
G. Nicholas Herman, Chapel Hill, for County of Cabarrus.
James E. Scarbrough, Concord, for Lanvale Properties, LLC, et al.
Richard M. Koch, for County of Cabarrus.
Christy E. Wilhelm, Concord, for County of Cabarrus.
J. Michael Carpenter, General Counsel, for N.C. Home Builders Association.
Daniel C. Higgins, Raleigh, for N.C. Home Builders Association.
The following order has been entered on the motion filed on the 15th of July 2011 by N.C. Home Builders Association for Leave to File Amicus Curiae Brief:
"Motion Allowed by order of the Court in conference, this the 18th of July 2011."
